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                                UNITED STATES COURT OF APPEALS
                                   FOR THE ELEVENTH CIRCUIT
                                   ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                 56 Forsyth Street, N.W.
                                                 Atlanta, Georgia 30303

David J. Smith                                                                                         For rules and forms visit
Clerk of Court                                                                                         www.ca11.uscourts.gov


                                                   June 02, 2021

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 20-14253-GG
Case Style: Jose Sepulveda v. USA
District Court Docket No: 1:88-cr-01026-MW-GRJ-6

This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF")
system, unless exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF
system by registering for an account at www.pacer.gov. Information and training materials related to
electronic filing, are available at www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today
in this appeal. Judgment has this day been entered pursuant to FRAP 36. The court's mandate will issue at a later
date in accordance with FRAP 41(b).

The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for
rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate
filings, a petition for rehearing or for rehearing en banc is timely only if received in the clerk's office within the
time specified in the rules. Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content
of a motion for attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list
of all persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-
1. In addition, a copy of the opinion sought to be reheard must be included in any petition for rehearing or petition
for rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time
spent on the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of
a petition for writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404)
335-6167 or cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

For questions concerning the issuance of the decision of this court, please call the number referenced in the
signature block below. For all other questions, please call Joseph Caruso, GG at (404) 335-6177.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Jeff R. Patch
Phone #: 404-335-6151

                                                                                    OPIN-1 Ntc of Issuance of Opinion
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                                                         [DO NOT PUBLISH]

             IN THE UNITED STATES COURT OF APPEALS

                     FOR THE ELEVENTH CIRCUIT
                       ________________________

                             No. 20-14253
                         Non-Argument Calendar
                       ________________________

                   D.C. Docket No. 1:88-cr-01026-GRJ-6

JOSE ELIAS SEPULVEDA,


                                                         Petitioner-Appellant,

                                  versus

UNITED STATES OF AMERICA,

                                                         Respondent-Appellee.
                       ________________________

                Appeal from the United States District Court
                    for the Northern District of Florida
                      ________________________


                               (June 2, 2021)

Before JILL PRYOR, BRANCH, and LUCK, Circuit Judges.

PER CURIAM:
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       Jose Elias Sepulveda, a federal prisoner, appeals the district court’s

dismissal of his pro se Federal Rule of Civil Procedure 60(b)(4) motion 1 for lack of

jurisdiction because it was an unauthorized second or successive 28 U.S.C. § 2255

motion. His Rule 60(b)(4) motion sought relief from his 1999 judgment of

conviction on the ground that the judgment was void because it was inconsistent

with due process as he lacked counsel at trial. The government moves for

summary affirmance of the district court’s order and for a stay of the briefing

schedule, arguing that the district court lacked jurisdiction to consider Sepulveda’s

motion because it was an unauthorized successive § 2255 motion.

       Summary disposition is appropriate when “the position of one of the parties

is clearly right as a matter of law so that there can be no substantial question as to

the outcome of the case, or where, as is more frequently the case, the appeal is

frivolous.” Groendyke Transp., Inc. v. Davis, 406 F.2d 1158, 1162 (5th Cir. 1969).

       We grant the government’s motion for summary affirmance because it is

clearly right as a matter of law. Sepulveda was convicted by a jury of two

conspiracy drug-related felony counts and sentenced to two concurrent life terms

of imprisonment in 1999. We denied his claim on direct appeal that his conviction

should be overturned because he was denied appointed counsel at trial in violation


       1
          Rule 60(b)(4) provides that “the court may relieve a party or its legal representative
from a final judgment, order, or proceeding . . . [if] the judgment is void.” Fed. R. Civ. P.
60(b)(4).
                                                 2
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of the Sixth Amendment, and we affirmed his convictions and sentences. United

States v. Sepulveda, 55 F. App’x 900 (11th Cir. 2002) (unpublished) (table). In

2004, Sepulveda filed an unsuccessful pro se § 2255 motion to vacate, arguing in

part that the district court violated his right to counsel by failing to appoint him

counsel during his criminal proceeding.2

       Subsequently, in 2019, Sepulveda filed the underlying pro se Rule 60(b)(4)

motion, arguing that his judgment of conviction was void because of his lack of

counsel during his criminal proceeding. Rule 60(b) motions are considered

successive habeas applications if the movant “attacks the federal court’s

previous resolution of a claim on the merits.” 3 Banister v. Davis, 140 S. Ct. 1698,

1709 (2020) (quoting Gonzalez v. Crosby, 545 U.S. 524, 532 (2005)). Before a

movant may file a second or successive motion to vacate, he first must obtain an

order from the court of appeals authorizing the district court to consider the

motion. See 28 U.S.C. §§ 2244(b)(3)(A), 2255(h). Absent authorization from this

Court, the district court lacks jurisdiction to consider a second or successive




       2
         Both the district court and this Court denied Sepulveda’s request for a certificate of
appealability.
       3
       It is well established that Rule 60(b) does not provide for any relief from a criminal
judgment. United States v. Mosavi, 138 F.3d 1365, 1366 (11th Cir. 1998).



                                                 3
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motion to vacate sentence. See Farris v. United States, 333 F.3d 1211, 1216 (11th

Cir. 2003).

      Sepulveda’s Rule 60(b)(4) motion attacked his judgment of conviction on

the ground that it was void because he did not have appointed counsel at trial. He

raised virtually identical arguments on direct appeal and in his original § 2255

motion, which was denied on the merits. Thus, his Rule 60(b) motion constituted a

successive § 2255 motion. Banister, 140 S. Ct. at 1709; Gonzalez, 545 U.S. at

531–32. Sepulveda did not have authorization from this Court to file a second or

successive § 2255 motion. Consequently, the district court properly dismissed his

Rule 60(b)(4) motion for lack of jurisdiction. Id.; see Farris, 333 F.3d at 1216.

      Accordingly, we GRANT the government’s motion for summary affirmance

and we DENY AS MOOT the accompanying motion to stay the briefing schedule.




                                          4
